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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF NEW YORK


 IN RE HOOSICK FALLS PFOA CASES                          No. 19-MC-18 (LEK/DJS)

 MICHELE BAKER, et al., individually and
 on behalf of all others similarly situated,

                  Plaintiffs,
                                                         No. 16-CV-917 (LEK/DJS)
         v.

 SAINT-GOBAIN PERFORMANCE
 PLASTICS CORP., HONEYWELL
 INTERNATIONAL INC. f/k/a ALLIED-
 SIGNAL INC. and/or ALLIEDSIGNAL
 LAMINATE SYSTEMS, INC., E. I.
 DUPONT DE NEMOURS AND COMPANY
 and 3M CO.,

                  Defendants.

  NOTICE OF WITHDRAWAL OF E.I. DUPONT DE NEMOURS AND COMPANY’S
   MOTION FOR RECONSIDERATION OF THE COURT’S SEPTEMBER 30, 2022
                MEMORANDUM-ORDER AND DECISION

        Defendant E.I. du Pont de Nemours and Company (“DuPont”) hereby withdraws its Motion for

Reconsideration of the Court’s September 30, 2022 Memorandum-Order and Decision [Dkt. No. 327],

without prejudice to and preserving its right to seek review of the errors set forth therein and all other

errors contained in the Court’s September 30, 2022 Memorandum-Order and Decision [Dkt. No. 324]

through all other appropriate procedural means. DuPont continues to oppose Plaintiffs’ Cross Motion for

Leave to Amend [Dkt. No. 331-3] for the reasons set forth in DuPont’s Reply in Support of Its Motion for

Reconsideration and Opposition to Plaintiffs’ Cross Motion For Leave To Amend [Dkt. No. 333].



Dated: November 2, 2022

                                                   Respectfully submitted,
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                                   CAPEZZA HILL, LLP


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